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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

MATTHEW LEWIS SMALL,                             )
                                                 )
                Plaintiff,                       )
                                                 ) Case No. 1:21-cv-1881
                v.                               )
                                                 )
MIKE NIELSEN, THOMAS BEARD and                   )
BOONE COUNTY SHERIFF,                            )
                                                 )
                Defendants.                      )

                              COMPLAINT FOR DAMAGES

        Plaintiff Matthew Lewis Small, by counsel Todd Meyer and Ian Goodman, for his

Complaint for Damages against Defendants Mike Nielsen, Thomas Beard and Boone County

Sheriff, states as follows:

                                Parties, Jurisdiction and Venue

        1.      Plaintiff Matthew Lewis Small (“Mr. Small”) is an adult resident of Michigan.

        2.      Defendant Boone County Sheriff is a law enforcement agency in Boone County,

Indiana and is a political subdivision of the State of Indiana. The Boone County Sheriff, among its

many functions and responsibilities, maintains a jail for persons to be held in lawful custody.

        3.      Defendant Mike Nielsen (“Sheriff Nielsen”) is an adult resident of Indiana who, at

all times relevant to this Complaint, was the duly elected sheriff of Boone County, Indiana.

        4.      Defendant Thomas M. Beard (“Captain Beard”) is an adult resident of Indiana who,

at all times relevant to this complaint, was a captain of Boone County Sheriff.

        5.      Sheriff Nielsen was Captain Beard’s superior and was in charge of the Boone

County Sheriff.



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       6.      Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction of Mr.

Small’s claims brought pursuant to 42 U.S.C. § 1983.

       7.      Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction of Plaintiff’s

claim brought under Indiana law.

       8.      Pursuant to 28 U.S.C. §1391, Venue is proper in this Court because the events

giving rise to this action occurred in Boone County, Indiana, which is located in the Southern

District of Indiana, Indianapolis Division.

                                              Facts

       1.      Mr. Small worked as a semi-truck driver, hauling trailers loaded with cargo

primarily on interstate highways in the United States.

       2.      Mr. Small is married. He and his wife have three children. Mr. Small supported his

family with the income he earned as a semi-truck driver.

       3.      On January 3, 2020, in his capacity as a semi-truck driver, Mr. Small departed West

Virginia and was bound for Minnesota. Collectively, the semi-truck that Mr. Small drove, the

trailer attached to it and the load in the trailer weighed approximately 75,000 pounds.

       4.      On January 4, 2020, at approximately 6 p.m., Mr. Small parked his semi-truck at a

truck stop in Richmond, Indiana, where he spent the night.

       5.      Mr. Small resumed his trip in the morning of January 5, 2020. At approximately

11 a.m., he was driving his semi-truck in Indianapolis, Indiana on the interchange of westbound

interstate 865 and northbound interstate 65. Once on northbound interstate 65, Mr. Small

positioned his semi-truck in the third right-most lane of four lanes of travel and entered Boone

County, Indiana.

       6.      Mr. Small was on a phone call, using a hands-free headset. He picked up a mug of


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coffee, which was located in a cupholder and took a drink. As he began to return the mug of coffee

to the cupholder, he observed that while traffic in the other three northbound lanes was flowing

normally. in his lane of travel, traffic in front of him was slowing and, eventually, stopping. Mr.

Small was unable to stop his semi-truck or to take sufficient evasive measures, and his semi-truck

struck multiple passenger motor vehicles. Three individuals – Kaylee Kirk, Mariah Tomey and

Victim 1 (the “Decedents”) – died as a result.

       7.      Mr. Small was taken from the scene of the accident to the emergency room at

Witham Hospital-Anson Hospital in Boone County, Indiana. There, he underwent a toxicology

screen, the results of which were negative, and was questioned by an officer of the Zionsville,

Indiana Police Department. Of the accident, Mr. Small told the officer what is recounted in this

Complaint.

       8.      For the Boone County Sheriff, Sheriff Nielsen assigned Captain Beard to

investigate Mr. Small’s role in the accident.

       9.      At the instruction of Sheriff Nielsen and/or Captain Beard, law enforcement

transported Mr. Small from Witham Hospital-Anson Hospital to, and detained him at, the office

of the Boone County Sheriff, where Captain Beard interrogated him.

       10.     Again, of the accident, Mr. Small told Captain Beard what is recounted in this

Complaint.

       11.     Captain Beard relayed to Sheriff Nielsen what Mr. Small stated.

       12.     Sheriff Nielsen and/or Captain Beard concluded that they had probable cause to

arrest Mr. Small upon the allegation that he had recklessly killed the Decedents.

       13.     Defendants then took continued custody of Mr. Small by booking him into the

Boone County Sheriff’s jail.


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       14.     Sheriff Nielsen and Captain Beard knew that to arrest Mr. Small as they had, for

allegedly recklessly killing the Decedents, they had to know of facts that gave them probable cause

to conclude that he had engaged in conduct in plain, conscious and unjustifiable disregard of the

harm that might result and that his disregard involved a substantial deviation from acceptable

standards of conduct (the “Culpability Standard”). (Ind. Code § 35-41-2-2.)

       15.     Sheriff Nielsen and Captain Beard knew that Mr. Small, prior to the accident, had

been sufficiently rested to drive his semi-truck, had been unimpaired by drugs or alcohol, had been

on a phone call with his wife via a hands-free headset, had taken a drink of coffee and had then

been unable to avoid colliding with slowed, and then stopped, traffic in front of him.

       16.     Sheriff Nielsen and Captain Beard knew that these facts did not give rise to

probable cause to accuse Mr. Small of acting in conformity with the Culpability Standard and of

recklessly killing the Decedents. But they persisted in representing to the Boone County

Prosecutor, and eventually to the Court, that they had probable cause.

       17.     On or about January 7, 2020, Captain Beard, in collaboration with Sheriff Nielsen,

authored an “Affidavit of Probable Cause” regarding Mr. Small’s role in the accident and the facts

underlying his arrest for allegedly recklessly killing the Decedents. (Exhibit A, Affidavit of

Probable Cause.)

       18.     With regard to Mr. Small, the Affidavit of Probable Cause described nothing more

than the same, non-criminal conduct that had led Defendants to arrest and jail Mr. Small. (Exhibit

A, Affidavit of Probable Cause, pp. 1-2.)

       19.     On January 7, 2020, the State of Indiana, in the Boone County, Indiana Superior

Court 2, under cause number 06D02-2001-F5-000057, initiated criminal prosecution against Mr.

Small, accusing him of three Level 5 felony charges of reckless homicide (the “Criminal


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Proceeding”). The Criminal Proceeding was premised on the Affidavit of Probable Cause.

       20.      On January 7, 2020, the Court, based on the Affidavit of Probable Cause, issued an

Order Finding Probable Cause to charge Mr. Small with three counts of reckless homicide.

       21.      On February 26, 2020, Mr. Small, by counsel, filed a motion to dismiss and

supporting memorandum of law (collectively, the “MTD”). In the MTD, Mr. Small argued in

relevant part that the facts alleged in the Affidavit of Probable Cause did not constitute a criminal

offense under Indiana law.

       22.      On October 2, 2020, the Court issued an “Order” granting the MTD. (Exhibit C,

Order On Defendant’s Motion To Dismiss.) Portions of the Order are summarized below:

             a. At the hearing on the MTD, to support the charges, the State asked the court to take

                judicial notice of the Affidavit of Probable Cause. Mr. Small then introduced as

                evidence the Affidavit of Probable Cause and a video recording of the accident.

                (Exhibit C, p. 2.)

             b. The Court identified the Culpability Standard and expounded on it, stating, “The

                element of recklessly has been found to require a conscious choice of action which

                injures another, either with knowledge of the serious danger to others involved or

                with knowledge of facts which would disclose the danger to a reasonable man.”

                (Exhibit C, p. 3.)

             c. While the State’s Charging Information did not “contain specific facts upon which

                the allegation of ‘recklessly’ was based”, the Court noted “it is appropriate to look

                to the [Affidavit of Probable Cause] to supplement facts not contained in the

                Charging Information.” (Exhibit C, p. 4.)

             d. Having considered the Affidavit of Probable Cause and video, the Court stated,


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               “[T]he record is completely void of facts taken as true that would, under any

               implicit or explicit interpretation, allow a trier of fact to find [Mr. Small’s]

               actions…a substantial deviation from acceptable standards of conduct.” “Mr. Small

               was well rested and sober. There was no evidence alleged that Mr. Small was

               operating his truck over the speed limit or driving erratically in any manner. Mr.

               Small was talking to his wife, but on a hands-free device and consuming coffee.

               Neither of those actions are slight, let alone substantial, deviation from acceptable

               standards of conduct.” (Exhibit C, pp. 8-9.)

       23.     In total, because of the unfounded decisions of Defendants – in particular the

Affidavit of Probable Cause – for approximately nine months Mr. Small was formally accused of

homicidally killing the Decedents. In public, and to multiple media outlets, Mr. Small was

characterized as an individual who had no regard for the lives of fellow motorists. With

Defendants’ accusations and media characterizations as sources of information, members of the

community where Mr. Small and his family lived assailed his character.

       24.     The unfounded decisions of Defendants have significantly harmed Mr. Small,

personally and professionally. He lost his job as a truck driver and has been unable to obtain similar

employment. He could not find any job for an extended period and still has not found suitable full-

time work. His family has struggled financially. Because of the negative publicity that Mr. Small

was subjected to, he and his family had to leave their home, and the community where their

children attended school, and relocate elsewhere, forcing their children to leave friends behind.

Mr. Small himself has experienced significant emotional trauma secondary to the experience of

being criminally accused of homicide. These are only some of the harms Mr. Small, and his family,

have suffered and continue to suffer.


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             Count I – 42 U.S.C. § 1983 – Fourth Amendment – Unlawful Detention
                               Sheriff Nielsen and Captain Beard

       25.      Mr. Small incorporates the allegations of paragraphs 1 to 24.

       26.      The Fourth Amendment to the United States Constitution protects “[t]he right of

people to be secure in their persons…against unreasonable…seizures.”

       27.      Under the Fourth Amendment, seizures are reasonable only where they are based

on probable cause to believe that the individual committed a crime.

       28.      Sheriff Nielsen and Captain Beard’s pretrial detention of Mr. Small, both before

formal legal process and after, constituted a seizure under the Fourth Amendment.

       29.      Sheriff Nielsen and Captain Beard did not have probable cause to believe that Mr.

Small had committed a crime, let alone the one they accused him of.

       30.      Therefore, Sheriff Nielsen and Captain Beard unlawfully seized and detained Mr.

Small and violated his Fourth Amendment rights.

       31.      Consequently, Mr. Small has been damaged.

         Count II – 42 U.S.C. § 1983 – Fourth Amendment – Malicious Prosecution
                            Sheriff Nielsen and Captain Beard

       32.      Mr. Small incorporates the allegations of paragraphs 1 to 24.

       33.      Sheriff Nielsen and Captain Beard caused the Criminal Proceeding to be instituted

against Mr. Small.

       34.      Sheriff Nielsen and Captain Beard acted maliciously in causing the Criminal

Proceeding to be instituted against Mr. Small. They knew precisely the nature of Mr. Small’s

conduct and that under any reasonable construction it did not give rise to probable cause to accuse

him of reckless homicide. But they persisted in representing to the Boone County Prosecutor, and

eventually to the Court, that they had probable cause.


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       35.      The Court in the Criminal Proceeding dismissed the charges against Mr. Small,

expressly holding that there was not probable cause to accuse Mr. Small of reckless homicide.

       36.      The Fourth Amendment to the United States Constitution protects “[t]he right of

people to be secure in their persons…against unreasonable…seizures.”

       37.      Under the Fourth Amendment, seizures are reasonable only where they are based

on probable cause to believe that the individual committed a crime.

       38.      Sheriff Nielsen and Captain Beard’s actions with regard to Mr. Small constituted a

seizure under the Fourth Amendment and amounted to malicious prosecution.

       39.      By unreasonably seizing and maliciously prosecuting Mr. Small, Sheriff Nielsen

and Captain Beard’s actions violated his Fourth Amendment rights.

       40.      Consequently, Mr. Small has been damaged.

       41.      Mr. Small’s malicious prosecution claim against Sheriff Nielsen and Captain Beard

is colorable under 42 U.S.C. § 1983, because Indiana law precludes a malicious prosecution claim

against them.

      Count III – 42 U.S.C. § 1983 – Fourteenth Amendment – Malicious Prosecution
                            Sheriff Nielsen and Captain Beard

       42.      Mr. Small incorporates the allegations of paragraphs 1 to 24.

       43.      Sheriff Nielsen and Captain Beard caused the Criminal Proceeding to be instituted

against Mr. Small.

       44.      Sheriff Nielsen and Captain Beard acted maliciously in causing the Criminal

Proceeding to be instituted against Mr. Small. They knew precisely the nature of Mr. Small’s

conduct and that under any reasonable construction it did not give rise to probable cause to accuse

him of reckless homicide. But they persisted in representing to the Boone County Prosecutor, and



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eventually to the Court, that they had probable cause.

       45.      The Court in the Criminal Proceeding dismissed the charges against Mr. Small,

expressly holding that there was not probable cause to accuse Mr. Small of reckless homicide.

       46.      The Fourteenth Amendment prohibits depriving any person of liberty without due

process of law.

       47.      By their actions, Sheriff Nielsen and Captain Beard deprived Mr. Small of liberty

without due process of law, in violation of the Fourteenth Amendment, and committed malicious

prosecution.

       48.      Consequently, Mr. Small has been damaged.

       49.      Mr. Small’s malicious prosecution claim against Sheriff Nielsen and Captain Beard

is colorable under 42 U.S.C. § 1983, because Indiana law precludes a malicious prosecution claim

against them.

                            Count IV – False Arrest (Indiana Law)
                                       All Defendants

       50.      Mr. Small incorporates the allegations of paragraph 1 to 24.

       51.      Defendants arrested and detained Mr. Small without probable cause.

       52.      By arresting and detaining Mr. Small without probable cause, Defendants

committed the tort of false arrest under Indiana law.

       53.      In arresting and detaining Mr. Small without probable cause, Defendants acted with

malice or oppressiveness that was not the result of mistake of fact or law, honest error or judgment,

overzealousness, mere negligence or any other human failing.

       54.      Defendants’ false arrest of Mr. Small has damaged him.

       Wherefore, Plaintiff Matthew Lewis Small prays for judgment in his favor and against



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 Defendants Mike Nielsen, Thomas Beard and Boone County Sheriff, for a trial by jury, for

 compensatory and punitive damages, for costs and for all other appropriate relief.

                                                     Respectfully submitted,

                                                     /s/ Todd J. Meyer
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